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AFFIDAVIT OF SERVICE Index No. 2:22-CV-02948-JMA-SIL
Date filed
File No.
DISTRICT COURT,COUNTY OF EASTERN NY
CESAR DE LA CRUZ
Plaintiff(s)
against
JONATHAN LORD CORP., KATHLEEN DANCIK AND CAROL KENTRUP
Defendant(s)
State of New York, County of Nassau Ss:
ANTHONY CARLINO __ being duly sworn,deposes and says: that deponent is not a party to this action, is over
18 years of age and resides at VALLEY STREAM NY 11580
That on 5/25/2022 at 11:00 AM at HOME ADDR. at
88 LONE OAK PATH
SMITHTOWN NY 11787

deponent served the within
SUMMONS AND COMPLAINT

on CAROL KENTRUP
(Defendant/Respondent) herein known as Recipient.

Said service was effected in the following manner;

AFFIXING TO DOOR, ETC.

by affixing a true copy(ies) of each to the door of said premises which is defendant's actual place of business
or dwelling place or usual place of abode within the state. Deponent was unable, with due diligence to find
defendant(s) or a person(s) of suitable age and discretion, thereat having called there.

5/23/2022 @ 9:20 PM 5/25/2022 @ 7:20 AM
5/25/2022 @ 41:00 AM @

Confirmed residency with neighbor Elizabeth Glacia

MAILING

On 5/25/2022 deponent mailed a copy of same to respondent at

88 LONE OAK PATH

SMITHTOWN NY 11787

by regular 1st class mail in an envelope bearing the legend "personal and confidential" and not

indicating on the outside thereof, by return address or otherwise, that the communication is from an attorney or
action against the person.

MILITARY CONFIRMATION

| asked the person spoken to

whether recipient is in active military service of the United States in any capacity whatever.
Person answered in the negative.

Sworn to before me on I >¢ > — \
y x
SHAUL HORAN URI BRILL ZL
Notary Public, State of New York NOTARY PUBLIC, STATE OF NY
Cc Sets —

No. 01HO6108246 # 01BR6394019 ANTHONY CARLINO
Qualified in Nassau County QUALIFIED IN NASSAU COUNTY
Commission Expires 04/12/2020 EXPIRES 07/01/2023

ALERT PROCESS SERVICE AGENCY, 185 Willis Avenue, Mineola,NY 11501 (516) 741-4353
